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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF PUERTO RICO

MINUTES OF PROCEEDINGS                                      Date: June 29, 2023

BEFORE JUDGE FRANCISCO A. BESOSA                            CV NO. 12-2039 (FAB)

COURTROOM DEPUTY: Omar Flaquer-Mendoza

COURT REPORTER: Joe Reynosa

COURT INTERPRETER: Iris Ramírez

INTERPRETER FOR Defendants: Carol Terry
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UNITED STATES OF AMERICA
    Plaintiff,

v.

COMMONWEALTH OF PUERTO RICO, et al.
     Defendants.
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     An in-Person Status hearing held as ordered at ECF No. 2413. The hearing began at

9:30 a.m. and ended at 12:27 p.m.

The following persons were present at the hearing:

     1. Federal Monitor John Romero and team:

        a. Denise Rodríguez, Deputy Monitor

        b. Roberto Abesada-Auget, Esq., General Counsel

        c. Scott Cragg

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   d. Donald Gosslin

   e. Rafael Ruiz

   f. Merángelie Serrano

   g. Alan C. Youngs

   h. Luis Hidalgo, Esq.

   i. Rita Watkins

   j. Javier González

   k. David Levy, Ph.D.

   l. Stephanie León

   m. Rosangela Rosario, Representative of AH Datalytics

2. Special Master Dr. Alejandro Del Carmen and team:

   a. Gilberto Balli, Assistant to Special Master

   b. Gary A. Loeffert, Second Assistant Special Master

   c. Thomas Petrowski, Assistant to Special Master

3. For Plaintiff United States of America:

   a. Trial Attorney Luis Saucedo

   b. Trial Attorney Jorge Castillo

4. For Defendants Commonwealth of Puerto Rico and the Puerto Rico Police Bureau:

   a. Counsel Gabriel A. Peñagarícano.

   b. Counsel Rafael E. Barreto-Solá

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   5. Office of the Governor (“La Fortaleza”)

      a. María Del Mar Ortiz, Esq., Special Counsel to the Governor

    6. Office of Management and Budget (“OMB”)

      a. Hecrián Martínez, Chief Counsel and liaison on police reform matters

    7. Puerto Rico Innovation and Technology Service (“PRITS”)

      a. Nanette Martínez-Ortiz, Acting Information, and Innovation Officer (“CIIO”),

and Technology Officer (“CTO”) for the Commonwealth of Puerto Rico

      b. Antonio Ramos, Sub-Secretary, Puerto Rico Innovation and Technology Service

(“PRITS”)

    8. General Services Administration (“GSA”)

      a. Edgardo González, Assistant Administrator for Service to the Agencies

    9. Office for the Administration and Transformation of Human Resources

(“OATHR”)

      a. Gustavo Cartagena, Director

    10. Department of Public Safety (“DPS”)

      a. Hon. Alexis Torres, Secretary, and the Governor’s representative for police

reform matters

      b. Arturo Garfer, Assistant Secretary

      c. Juan Carlos Puig, Consultant, and former Treasury Secretary (Excused)

      d. Miguel E. Bermúdez Mangual, Special Advisor, Federal Affairs Office

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      e. José Díaz, Executive Director, Federal Affairs Office

    12. Puerto Rico Police Bureau (“PRPB”)

      a. Commissioner Antonio López-Figueroa

      b. Colonel Rolando Trinidad, Director of the Reform Office

      c. Caonabo Vicente, IT Bureau Director

      d. Ángel Díaz, IT Bureau Deputy Director

      e. Lieutenant Rafael Meléndez Burgos, Director of Internal Affairs (SARP)

      13. FOMB

      a. Kevin Borja, Senior Associate Analyst on Public Safety Matters

      14. Financial Oversight Officer

      a. Christopher Graham

      The Court held a status conference with all parties mentioned above, and the

following items included in the Order Scheduling Status Conference, ECF No. 2413 were

discussed.

      A. Overview of CMR-8.

      B. The Commonwealth will provide updates to the Court on the following

implementation Plans:

             i. Search and Seizure

             ii. Training Plan


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          iii. Staffing and Supervision Plan

          iv. Domestic Violence/Sexual Assault Plan

          v. Use of Force Plan

          vi. Information and Technology Plan

   C. Presentation to the Court by AH Datalytics re: Dashboards

   D. PRPB’s timeline for implementing Reform Stat and how it will be structured.

   E. Update on the need for policy and training for FURA

       All matters presented during today’s hearing stands submitted for the record and

for the court’s consideration.




                                      S/ Omar Flaquer-Mendoza
                                      Omar Flaquer-Mendoza
                                      Case Manager/Courtroom Deputy Clerk to
                                      Hon. Francisco A. Besosa,
                                      Senior U.S. District Judge




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